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IN THE UNITED STATES DISTRICT COURT Fl L. :
FOR THE DISTRICT OF MONTANA JAN 1 8 2019
BILLINGS DIVISION Clerk, U S District Court
District Of Montana
Billings
UNITED STATES OF AMERICA, CR 17-76-BLG-SPW
Plaintiff,
ORDER SETTING
VS. SENTENCING
KEITH ALAN ROSE,
Defendant.

 

 

Defendant entered his plea of guilty to Counts I and II of the Indictment
before U.S. Magistrate Judge Timothy J. Cavan in open court on May 24, 2018.
United States Magistrate Judge Timothy J. Cavan entered Findings and
Recommendation in this matter on May 24, 2018 (Doc. 42). No objections having
been filed,

IT IS HEREBY ORDERED that Judge Cavan’s Findings and
Recommendation (Doc. 42) are ADOPTED IN FULL as to Counts I and I];
further

A Bench Trial as to Count III of the Indictment was held before this Court
on January 18, 2019 wherein the Defendant was found NOT GUILTY of Count

IIT; therefore,
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IT IS HEREBY ORDERED that,

1. Sentencing is set on Counts I and II of the Indictment for Thursday,
May 16, 2019 at 1:30 p.m., in the James F. Battin Courthouse, 2601 Second
Avenue North, Billings, Montana.

2. The United States Probation Office shall conduct a presentence
investigation and prepare a presentence report. Fed. R. Crim. P. 32(c), (d); 18
U.S.C. § 3552(a).

3. The probation officer shall disclose the completed report, except for
recommendations of the probation officer as follows: two copies to counsel for
Defendant, and one copy to counsel for the government on or before April 1,
2019. The probation officer shall not disclose any recommendation made or to be
made to the Court.

4. If restitution is mandatory, the probation officer shall discuss a
payment plan with Defendant and shall make recommendations to the Court
concerning interest and a payment schedule.

5. Counsel shall attempt in good faith to resolve disputes over any
material in the presentence report. Unresolved objections to be relied upon at
sentencing shall be presented to the probation officer on or before April 10, 2019.
U.S.S.G. § 6A1.2. Any unresolved objections are expected to be included in

the pre-sentence report, not in a sentencing memorandum.
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6. The presentence report, in final form, including any unresolved
objections, shall be delivered to the Court and the parties on or before April 24,
2019.

7. Sentencing memoranda and supporting documents addressing all
relevant sentencing issues shall be filed on or before May 1, 2019. Absent good
cause shown, sentencing memoranda and supporting documents filed after May 1,
2019 will not be considered in addressing sentencing issues. Failure to timely file

sentencing memoranda may result in imposition of sanctions against counsel.

8. Responses to sentencing memoranda shall be filed on or before May
8, 2019.
9. Reply briefs will not be accepted for filing in sentencing matters.

10. The Court will resolve objections included in the Addendum to the
presentence report at the sentencing hearing in accordance with U.S.S.G. § 6A1.3.

11. All parties that intend to have witnesses testify at sentencing shall give
notice to this Court ten (10) days prior to the sentencing date.

12. Defendant is to remain in the custody of U.S. Marshals pending

sentencing.
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The clerk shall promptly notify counsel and the probation office of the entry

of this Order.

Yh
DATED this SK day of January, 2019.

SUSAN P. WATTERS
United States District Judge
